      Case 4:16-cv-01414 Document 371 Filed in TXSD on 01/18/18 Page 1 of 1
                                                                                       United States District Court
                        IN THE UNITED STATES DISTRICT COURT                              Southern District of Texas
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION
                                                                                            ENTERED
                                                                                          January 18, 2018
MARANDA LYNN ODONNELL, et al.,                    §                                      David J. Bradley, Clerk
On behalf of themselves and all others            §
similarly situated,                               §
                                                  §
                       Plaintiffs,                §
                                                  §     CIVIL ACTION NO. H-16-1414
VS.                                               §
                                                  §
HARRIS COUNTY, TEXAS, et al.,                     §
                                                  §
                       Defendants.                §

                         ORDER SETTING PREMOTION HEARING

       The plaintiffs have requested a premotion hearing to address the prior production of

materials, and whether they were incomplete or insufficient so as to require orders compelling

timely, corrected, and sworn responses, and imposing sanctions. Specifically, the plaintiffs request

materials concerning whether Harris County Criminal Courts at Law Judges instructed Hearing

Officers on how to set bail and grant or recommend bond, and whether the Hearing Officers’

discretion to recommend bond was limited by such instructions. The plaintiffs also request materials

and testimony submitted to the Texas State Commission on Judicial Conduct, which publicly

admonished and sanctioned the Hearing Officers on January 10, 2018 for “strictly following

directives not to issue personal bonds to defendants per the instructions of the judges in whose court

the underlying cases were assigned.”

       A hearing is set for Tuesday, January 23, 2018 at 2:00 p.m. in Courtroom 11B. The

Hearing Officers who testified or who submitted affidavits in this court or to the Commission on

Judicial Conduct and the Harris County Criminal Courts at Law Judge defendants are ordered to

appear in person.

               SIGNED on January 18, 2018, at Houston, Texas.


                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         Chief United States District Judge
